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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MONTANA
                                MISSOULA DIVISION

  TANYA GERSH,
                                                    CV 17-50-M-DLC-JCL
          Plaintiff,

   and                                               FINDINGS &
                                                     RECOMMENDATION
  TIMOTHY C. FOX, in his official
  capacity as Attorney General of the
  State of Montana,

          Intervenor,

  vs.

  ANDREW ANGLIN,

          Defendant.




         On April 18, 2017, Plaintiff Tanya Gersh filed this action against Defendant

Andrew Anglin, alleging that he initiated an online anti-Semitic harassment and

intimidation campaign against her and her family. Gersh invoked the Court’s

diversity subject matter jurisdiction under 28 U.S.C. § 1332, and alleged state law

claims against Anglin for invasion of privacy, intentional infliction of emotional

distress, violations of Montana’s Anti-Intimidation Act, and punitive damages.

         On April 5, 2019, the Court issued an order denying Anglin’s motion for a

protective order that would have excused him from having to appear for an in-

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person deposition in the United States. (Doc. 173). Gersh noticed Anglin’s

deposition for April 30, 2019, and on April 22, 2019 the Court issued an order

cautioning Anglin that if he failed to appear for his deposition, the Court would

enter default against him in this matter. Anglin did not appear for his properly

noticed deposition on April 30, 2019, and the Court issued an order directing the

Clerk of Court to enter his default. (Doc. 186). On April 30, 2019, the Clerk of

Court entered default against Anglin pursuant to Federal Rule of Civil Procedure

55(a). (Doc. 188).

      On June 21, 2019, Gersh filed the pending motion for default judgment

pursuant to Rule 55(b)(2) and Rule 37(d) based on Anglin’s failure to obey the

Court’s orders and comply with his discovery obligations. The Court held an

evidentiary hearing on July 11, 2019. Anglin did not respond to Gersh’s motion or

appear at the hearing.

      Under Rule 37(d)(1), “[t]he court where the action is pending may, on

motion, order sanctions” if a party fails to appear for its own properly noticed

deposition. The types of sanctions authorized may include “rendering a default

judgment against the disobedient party.” Rule 37(d)(2)(A)(vi). Rule 55(b) allows

the court to enter default judgment following entry of a defendant’s default.

      Where, as here, default has been entered under Rule 55(a), the factual

allegations of the complaint, except those relating to the amount of damages, are

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taken as true for purposes of entering a default judgment. Geddes v. United

Financial Group, 559 F.2d 557, 560 (9th Cir. 1977). Thus, while default establishes

a defendant’s liability on all well-pled claims, the court must determine the amount

of damages to be awarded in the default judgment. See Fed. R. Civ. P. 55(b)(2).

       Whether to grant default judgment is left to the court’s sound discretion.

See Aldabe v. Aldabe, 616 F.2d 1089, 1092 (9th Cir. 1980). In determining whether

default judgment is appropriate under Rule 55(b), the court considers the following

factors: “(1) the possibility of prejudice to the plaintiff, (2) the merits of plaintiff’s

substantive claim, (3) the sufficiency of the complaint, (4) the sum of money at

stake in the action, (5) the possibility of a dispute concerning material facts, (6)

whether the default was due to excusable neglect, and (7) the strong policy

underlying the Federal Rules of Civil Procedure favoring decisions on the merits.”

Eitel v. McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986).

       The Ninth Circuit has also identified five factors that a district court must

consider before declaring default as a terminating sanction under Rule 37: “(1) the

public’s interest in expeditious resolution of litigation; (2) the court’s need to

manage its docket; (3) the risk of prejudice to the defendants; (4) the public policy

favoring disposition of cases on their merits; and (5) the availability of less drastic

sanctions.” Malone v. U.S Postal Service, 833 F.2d 128, 130 (9th Cir. 1987)

(quoting Thompson v. Housing Authority, 782 F.2d 829, 832 (9th Cir. 1986)).

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      The Court has considered the Eitel and Malone factors set forth above, and

for the reasons stated convincingly by Gersh in her supporting brief (doc. 202, at

16-21), finds they weigh in favor of entering default judgment. With liability

established, the Court’s next task is to calculate the amount of damages to be

awarded. Based on the evidence and testimony presented at the evidentiary hearing

on July 11, 2019, the Court finds that Gersh is entitled to compensatory damages

as follows:

      (1)     Economic damages in the amount of $220,680 for past lost earnings,
              medical expenses, and other expenses;

      (2)     Economic damages in the amount of $821,758 for future lost earning
              capacity;

      (3)     Non-economic damages in the amount of $1,000,000 for past pain and
              suffering, and;

      (4)      Non-economic damages in the amount of $2,000,000 for future pain
              and suffering and loss of enjoyment of life.

      In addition to compensatory damages, Gersh seeks an award of punitive

damages. In a diversity action like this one, the propriety of an award of punitive

damages is a question of state law. Browning-Ferris Indus. of Vermont, Inc. v.

Kelco Disposal, Inc., 492 U.S. 257, 278 (1989). The Court finds based on the

well-pleaded factual allegations in the Complaint, as well as the evidence and

testimony presented at the evidentiary hearing, that Anglin acted with actual

malice as required to support a punitive damages award. Mont Code. Ann. § 27-1-

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221(2).

      Under Montana law, “[a]n award for punitive damages may not exceed $10

million or 3% of a defendant’s net worth, whichever is less.” Mont. Code Ann. §

27-1-220(3). The Montana Supreme Court has held that the limitation on punitive

damage awards in excess of 3% of a defendant’s net worth applies “only if the

defendant first meets his burden of demonstrating an accurate calculation of his net

worth.” Blue Ridge Homes, Inc. v. Thein, 191 P.3d 374, 387 (Mont. 2008).

Because Anglin has not met that burden here, the 3% limitation does not apply.

      Having considered the factors set forth in Mont. Code Ann. § 27-1-

221(7)(b), including the particularly egregious and reprehensible nature of

Anglin’s conduct, the Court finds that a punitive damages award in the amount of

$10,000,000 is warranted to punish Anglin and deter him from engaging in such

conduct in the future.1

      Accordingly, and for the reasons set forth above,

      IT IS RECOMMENDED that Gersh’s Motion for Default Judgment (doc.

201) be GRANTED, and a judgment be entered awarding Gersh $4,042,438 in



1 This award falls within the constitutionally permissible single-digit multiplier
contemplated by the United States Supreme Court in State Farm Mut. Auto. Ins.
Co. v. Campbell, 538 U.S. 408 (2002) (“[F]ew awards exceeding a single-digit
ratio between punitive and compensatory damages, to a significant degree, will
satisfy due process.”).

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compensatory damages and $10,000,000 in punitive damages. In addition, because

the atrocious conduct directed at Gersh and her family has not entirely abated, the

Court should issue a permanent injunction ordering Anglin to remove from his

website the blog posts encouraging his readers to contact Gersh, her family and,

especially, her son, including all photographs and images of the family and

comment boards associated therewith.

             DATED this 15th day of July, 2019.



                                             ______________________________
                                             Jeremiah C. Lynch
                                             United States Magistrate Judge




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